Case 2:15-cv-05642-CAS-JC           Document 21 Filed 09/30/14              Page 1 of 10 Page ID
                                            #:75



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


MARCUS GRAY P/K/A FLAME; LECRAE
MOORE P/K/A LECRAE; EMANUEL
LAMBERT; and CHIKE OJUKWU,

               Plaintiffs,                            Case No.    4:14-CV-01183-HEA
       v.

KATY PERRY; JORDAN HOUSTON P/K/A
JUICY J; LUKASZ GOTTWALD P/K/A DR.                  Jury Trial Demanded
LUKE; SARAH THERESA HUDSON; MAX
MARTIN; HENRY RUSSELL WALTER
P/K/A CIRKUT; and CAPITOL RECORDS,
LLC,

               Defendants.


        DEFENDANT CAPITOL RECORDS, LLC'S ANSWER TO COMPLAINT

       Defendant Capitol Records, LLC (the “Defendant”) submits the following Answer to the

Complaint of Marcus Gray, Lecrae Moore, Emanuel Lambert and Chike Ojukwu (“Plaintiffs”).

With respect to the allegations set forth in the Complaint, Defendant:

                                           Introduction

       1.      Denies the allegations contained in Paragraph 1 of the Complaint, except admits

that this is a civil action for alleged copyright infringement under the United States Copyright

Act, 17 U.S.C. § 101, et seq., and that the Complaint seeks, inter alia, injunctive relief.

       2.      Denies the allegations in the first sentence of Paragraph 2 of the Complaint

because the term “mega-hit” used in that sentence is vague and undefined. Defendant denies

knowledge or information sufficient to form a belief as to the truth of the allegations in the

second and third sentences of Paragraph 2 of the Complaint. Defendant denies knowledge or

information sufficient to form a belief as to the truth of the allegations contained in the fourth
Case 2:15-cv-05642-CAS-JC           Document 21 Filed 09/30/14            Page 2 of 10 Page ID
                                            #:76



sentence of Paragraph 2 of the Complaint, except admits that it is informed and believes that

millions of copies of the sound recording by Katy Perry of the composition “Dark Horse” have

been sold in various configurations. Defendant denies knowledge or information sufficient to

form a belief as to the truth of the allegations in the fifth sentence of Paragraph 2 of the

Complaint, except admits that a recording by Katy Perry of the composition “Dark Horse” has

been broadcast on certain radio stations in the United States. Defendant denies knowledge or

information sufficient to form a belief as to the truth of the allegations contained in the final

sentence of Paragraph 2 of the Complaint.

       3.      Denies the allegations contained in Paragraph 3 of the Complaint, except denies

knowledge or information sufficient to form a belief as to the truth of the allegation regarding the

date of release of the recording entitled “Joyful Noise.”

       4.      Denies the allegations contained in the first sentence of Paragraph 4 of the

Complaint. Defendant denies knowledge or information sufficient to form a belief as to the truth

of the allegations contained in the second sentence of Paragraph 4 of the Complaint.

                                          The Plaintiffs

       5.      Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 5 of the Complaint.

       6.      Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 6 of the Complaint.

       7.      Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 7 of the Complaint.

       8.      Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 8 of the Complaint.
                                               2
Case 2:15-cv-05642-CAS-JC           Document 21 Filed 09/30/14             Page 3 of 10 Page ID
                                            #:77



                                         The Defendants

       9.      Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 9 of the Complaint.

       10.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 10 of the Complaint.

       11.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 11 of the Complaint.

       12.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 12 of the Complaint.

       13.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 13 of the Complaint.

       14.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 14 of the Complaint.

       15.     Denies the allegations contained in Paragraph 15 of the Complaint except admits

that Defendant is a Delaware limited liability company.

                                     Jurisdiction and Venue

       16.     Admits that this is a civil action for alleged copyright infringement under the

United States Copyright Act, 17 U.S.C. § 101, et seq. Defendant avers that the remainder of the

allegations in Paragraph 16 of the Complaint set forth legal conclusions as to which no response

is required. To the extent a response is required, the statements are denied.

       17.     Denies the allegations contained in Paragraph 17 of the Complaint.




                                                 3
Case 2:15-cv-05642-CAS-JC          Document 21 Filed 09/30/14            Page 4 of 10 Page ID
                                           #:78



       18.     Avers that the allegations in Paragraph 18 of the Complaint set forth legal

conclusions as to which no response is required. To the extent a response is required, the

statements are denied.

                                Plaintiffs’ Song: “Joyful Noise”

       19.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 19 of the Complaint.

       20.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 20 of the Complaint.

       21.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 21 of the Complaint.

       22.     Avers that Paragraph 22 of the Complaint sets forth legal conclusions as to which

no response is required. To the extent Paragraph 22 of the Complaint contains factual

allegations, Defendant denies knowledge or information sufficient to form a belief as to the truth

of them.

       23.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 23 of the Complaint.

       24.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 24 of the Complaint.

       25.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 25 of the Complaint.

       26.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 26 of the Complaint.


                                                4
Case 2:15-cv-05642-CAS-JC          Document 21 Filed 09/30/14            Page 5 of 10 Page ID
                                           #:79



                               Defendants’ Song: “Dark Horse”

       27.     Denies the allegations contained in Paragraph 27 of the Complaint.

       28.     Denies the allegations contained in Paragraph 28 of the Complaint, except admits

that the credited writers of the composition “Dark Horse” are: Lukasz Gottwald p/k/a “Dr.

Luke”, Jordan Houston p/k/a “Juicy J”, Sarah Hudson, Katy Perry, Karl Martin Sandberg p/k/a

“Max Martin”, and Henry Walter p/k/a “Cirkut.”

       29.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 30 of the Complaint.

       30.     Denies the allegations contained in Paragraph 30 of the Complaint, except admits

that the album Prism was released in October 2013, and that the sound recording by Katy Perry

of the composition “Dark Horse” was released as a promotional single.

       31.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 31 of the Complaint.

             Defendants’ Alleged Infringement of Plaintiffs’ Alleged Copyright

       32.     Denies that any portion of the composition “Joyful Noise” (or any derivative

thereof) is copied by or embodied in the composition or sound recording of “Dark Horse.”

Defendant otherwise denies knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 32 of the Complaint, except admits that Defendant did

not seek permission from Plaintiffs for use of the composition “Joyful Noise” in the manner set

forth in Paragraph 32, and avers that no such permission was required.

       33.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 33 of the Complaint.


                                                5
Case 2:15-cv-05642-CAS-JC            Document 21 Filed 09/30/14              Page 6 of 10 Page ID
                                             #:80



       34.     Denies the allegations contained in Paragraph 34 except admits that the compact

disc configuration of the album Prism has been sold on certain websites and in certain retail

stores and that the digital configuration of the sound recording of “Dark Horse” by Katy Perry is

available for sale on certain websites.

       35.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 35 of the Complaint, except admits that Defendant is

informed and believes that Katy Perry performed the composition “Dark Horse” at the 2014

Grammy Awards and at certain concerts.

       36.     Denies the allegations contained in Paragraph 36 of the Complaint, except admits

that the official music video for Katy Perry’s recording of “Dark Horse” can be viewed on

www.youtube.com and www.vevo.com, and denies knowledge or information sufficient to form

a belief as to the number of times that video has been viewed.

       37.     Denies the allegations contained in Paragraph 37 of the Complaint.

       38.     Denies the allegations contained in Paragraph 38 of the Complaint.

       39.     Denies the allegations contained in Paragraph 39 of the Complaint.

       40.     Denies the allegations contained in Paragraph 40 of the Complaint, except admits

that, prior to the date of the Complaint, Defendant received a letter from an attorney purporting

to represent the Plaintiffs regarding their claim of alleged infringement.

       41.     Denies the allegations contained in Paragraph 41 of the Complaint.

                                     PRAYER FOR RELIEF

       Defendant denies that the Plaintiffs are entitled to the relief requested in their Complaint

or to any other relief whatsoever.


                                                 6
Case 2:15-cv-05642-CAS-JC            Document 21 Filed 09/30/14          Page 7 of 10 Page ID
                                             #:81



                          AFFIRMATIVE AND OTHER DEFENSES

        Without waiving or excusing the burden of proof of Plaintiffs, or admitting that

Defendant has any burden of proof, Defendant asserts the following affirmative and other

defenses.

                                          FIRST DEFENSE

        The Complaint and any purported claims for relief therein fail to state a claim upon

which relief can be granted.

                                         SECOND DEFENSE

        The Complaint and any purported claims for relief therein are barred, precluded, and/or

limited by the statute of limitations.

                                         THIRD DEFENSE

        Plaintiffs have no standing to assert their Complaint and any claim therein. Inter alia,

Plaintiffs lack standing to the extent their claims are based on the alleged infringement of a work

for which Plaintiffs do not (or did not) own the exclusive right allegedly infringed at the time of

infringement.

                                         FOURTH DEFENSE

        The alleged copyrighted work that is the subject of this Complaint consists of material

that is not original.

                                         FIFTH DEFENSE

        The alleged copyrighted work that is the subject of this Complaint does not constitute

protectable copyrightable subject matter.




                                                7
Case 2:15-cv-05642-CAS-JC           Document 21 Filed 09/30/14             Page 8 of 10 Page ID
                                            #:82



                                        SIXTH DEFENSE

       Plaintiffs’ Complaint and any claims therein are barred, precluded, and or limited by the

doctrines of waiver, laches, estoppel, acquiescence, consent and express and/or implied license.

                                      SEVENTH DEFENSE

       Plaintiffs’ Complaint and any claims therein are barred, precluded, and/or limited to the

extent any alleged use of Plaintiffs’ allegedly copyrightable material constitutes fair use.

                                       EIGHTH DEFENSE

       Plaintiffs’ Complaint and any claims therein are barred, precluded, and/or limited to the

extent any alleged use of Plaintiffs’ allegedly copyrightable material constitutes de minimis use.

                                        NINTH DEFENSE

       Plaintiffs’ alleged damages, if any, are due solely to acts and omissions that are not those

of, and are independent from, the Defendant.

                                       TENTH DEFENSE

       Plaintiffs have failed to mitigate any alleged damages.

                                     ELEVENTH DEFENSE

       Plaintiffs’ Complaint and any claims therein are barred by the doctrine of unclean hands.

                                     TWELFTH DEFENSE

       Upon information and belief, Plaintiffs did not obtain a valid copyright registration of the

allegedly infringed work prior to the act of alleged infringement in the Complaint and therefore

Plaintiffs are not entitled to any award of attorneys’ fees or statutory damages under the United

States Copyright Act.




                                                  8
Case 2:15-cv-05642-CAS-JC           Document 21 Filed 09/30/14             Page 9 of 10 Page ID
                                            #:83



                                   THIRTEENTH DEFENSE

       Plaintiffs’ claims are barred to the extent they are based on the alleged infringement of a

work for which: (i) valid and enforceable copyright registration certificates do not exist and/or

(ii) the relevant certificates contain materially false and/or inaccurate information relating to the

nature, ownership or chain of title to the work.

                                   FOURTEENTH DEFENSE

       Plaintiffs’ alleged damages, if any, are limited by Defendant’s innocent intent.




       WHEREFORE, Defendant respectfully submits that the Complaint should be dismissed

with prejudice and judgment entered in its favor, and that Defendant be awarded its reasonable

attorney’s fees and costs incurred in the defense of this action pursuant to 17 U.S.C. § 505.

                               DEMAND FOR TRIAL BY JURY

       Defendant demands a trial by jury of all of Plaintiffs’ claims that are so triable.

                                              Respectfully submitted,

                                              STINSON LEONARD STREET LLP,

                                              By:         /s/ Sandra Wunderlich
                                                       Sandra J. Wunderlich, #39019MO
                                                       Andrew J. Scavotto, #57826MO
                                                       7700 Forsyth Boulevard, Suite 1100
                                                       St. Louis, MO 63105
                                                       (314) 863-0800 - Telephone
                                                       (314) 863-9388 - Facsimile
                                                       sandra.wunderlich@stinsonleonard.com
                                                       andrew.scavotto@stinsonleonard.com




                                                   9
Case 2:15-cv-05642-CAS-JC          Document 21 Filed 09/30/14            Page 10 of 10 Page ID
                                            #:84



                                                  Christine Lepera, Esq.
                                                  pro hac vice motion to be filed
                                                  Jeffrey M. Movit, Esq.
                                                  pro hac vice motion to be filed
                                                  Bradley Mullins, Esq.
                                                  pro hac vice motion to be filed
                                                  MITCHELL SILBERBERG & KNUPP LLP
                                                  12 East 49th Street, 30th Floor
                                                  New York, NY 10017
                                                  (212) 509-3900 (direct)
                                                  (212) 509-7239 (facsimile)
                                                  ctl@msk.com
                                                  jmm@msk.com
                                                  bym@msk.com

                                              Attorneys for Defendants Jordan Houston p/k/a
                                              Juicy J, Lukasz Gottwald p/k/a Dr. Luke, Sarah
                                              Hudson, Karl Martin Sandberg p/k/a Max Martin,
                                              Henry Walter p/k/a Cirkut, and Capitol Records,
                                              LLC

                                 CERTIFICATE OF SERVICE

   I hereby certify that on this 30th day of September 2014, the foregoing document was filed

 electronically and served upon counsel of record via the court's ECF filing system:



                                                     /s/ Sandra J. Wunderlich
                                              Attorney for Defendants




                                                10



 CORE/9990000.7110/103005696.1
